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IN THE UNITED STATES DISTRICT COURT -
MIDDLE DISTRICT OF TENNESSEE
AT NASHVILLE

GEORGE LANE, BEVERLY JONES, ANN MARIE
ZAPPOLA, RALPH RAMSEY & DENNIS CANTRELL
Plaintiffs ©

Vv. No. 3:98 CV 0731

Judge Campbell

STATE OF TENNESSEE and its political subdivisions, Magistrate Griffin

POLK COUNTY, BLEDSOE COUNTY, CANNON
COUNTY, CHESTER COUNTY, CLAIBORNE
COUNTY, CLAY COUNTY, COCKE COUNTY,
DECATUR COUNTY, FAYETTE COUNTY,
GRAINGER COUNTY, HANCOCK COUNTY,
HAWKINS COUNTY, HICKMAN COUNTY,
HOUSTON COUNTY, JACKSON COUNTY,
JEFFERSON COUNTY, JOHNSON COUNTY,
LAKE COUNTY, LEWIS COUNTY, MEIGS
COUNTY, MOORE COUNTY, PERRY COUNTY,
PICKETT COUNTY, TROUSDALE COUNTY,
and VAN BUREN COUNTY

Defendants

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MOTION FOR PERMISSIVE JOINDER & COMPLAINT

Comes, A. Russell Larson, by and through counsel, who would hereby respectfully petition
this Honorable Court to allow him to join in this cause of action pursuant to the provisions of FRCP

19(a) (Permissive Joinder) as party plaintiffs and sue the defendants for damages equitablerelief and
for cause would show as follows:

I.
THE PARTIES
(a) The Petitioner, A. Russell Larsonisa citizen and resident of Madison County, Tennessee
and resides at 72 Mcintosh, Jackson, TN. Heisa qualified individual with a disability as is defined
by 42 U.S.C. 12131(2) by virtue of his being diagnosed with Arthrogryposis which makes it
difficult if not impossible to climb stairs. He is a licensed practicing attorney in the State of

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Tennessee and is prepared to render those services throughout the State of Tennessee. He has
participated in the practice of law throughout West Tennessee and has specitically had cases
imvolving matters within the jurisdiction of State Courts meeting at the courthouses in Decatur
County, Tennessee and Fayette County, Tennessee, and Chester County, Tennessee. The State of
Tennessee holds its judicial proceedings in courtrooms that are located on the second or higher floor
of those buildings. He is willing to and does hereby petition to serve as a class representative for all
qualified individuals with a disability needing or participating in the services of the judicial division
of the State of Tennessee and its political subdivisions. As a citizen of the State of Tennessee,

petitioner has a constitutional right to access to all courtrooms of all the counties of the State of

Tennessee including those of all of the named defendants.

il.
JURISDICTION & GROUNDS FOR GRANTING JOINDER MOTION
Petitioner would adopt by reference the allegations contained in Section II of the original
complaint. In addition, Petitioner would show to this court that he has meet the requirements of
FRCP 20(a) permitting “Permissive Joinder”. As will be noted herein after, the allegations of this
prospective petitioner arise out of the same transactions, occurrences, or series of transactions or

occurrences and there are common questions of law and fact.

mi.
PETITIONER’S INDIVIDUAL ALLEGATIONS
{a) That as noted above, the petitioner, A. Russell Larson has a condition noted as being
Arthrogryposis which makes it difficult to impossible to climb stairs and as such is a qualified
individual with a disability as defined by 42 U.S.C. 12131(2).

(b) In 2001, the petitioner went to the Decatur County Courthouse to represent a client in a
criminal matter. The judicial proceedings at that location are conducted on the second floor of the
court house and he could not gain access to the courtroom. The Circuit Judge and representatives

ofthe District Attorney’s office would regularly meet with him inthe hall ways down stairs to work
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on his cases, but he could not, because of his disability, reach the court room. On one occasion in
approximately July of 2001, the Circuit Judge advised plaintiff that if his cases went to trial, the
juries meet in the court room and he would have to get there someway if he was going to represent
his clients at trial. Plaintiffhas similar problem with the court house in Fayette County and Chester

County where the judicial proceedings are conducted at court rooms that are not accessible except

by stairs.

(c) Plaintiffhas sought to have the court houses at both facilities to be made accessible to him
and others or in the alternative to move the proceedings to a location where all citizens with the

disability of not being able io climb stairs could gain access but has been unable to get that
accomplished.

(d) In 1998, the defendant Fayette County made $175,000 worth of renovations to its
courthouse. Despite these substantial improvements to the building, there are no plans to meet the
requirements of T.C.A. § 68-120-204 & T.C.A. § 68-120-205, as well as the North Carolina
Building Code (which has been adopted by the State of Tennessee as a standard) as required by the
noted statutes which mandate that public buildings be made accessible to persons with disabilities.

({) That the defendants Fayette County, Tennessee, Decatur County, Tennessee, Chester
County, Tennessee and the other counties named as defendants in the principle case and the
defendant State of Tennessee are in violation of the ADA (42 U.S.C. 12131 et. seq. & 28 C.F.R. Part
35) and T.C.A. § 68-120-204 &T.C.A. § 68-120-205 which require that programs that are conducted
by State and Local governmental bodies are conducted in facilities that are equally accessible by
persons with disabilities as they are by people without disabilities. The defendants have willfully
and intentionally failed to comply with Federal and State law as noted above by conducting their
Judicial Proceedings and County Commission meetings at a location that is not handicap accessible.
It appears that it is their intention to persist in this itlégal conduct on into the future despite the
circumstances presented by the petitioners circumstances and other disabled persons in Fayette

County, Chester County, Decatur County and the State of Tennessee who have a need to gain access

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to the programs that occur on the floors of the Courthouse accessible by staixrs only. That as a result
of the intentional and willful acts of discrimination by the defendants the State of Tennessee and
Fayette County, Chester County and Decatur County, the petitioner has suffered humiliation. and
embarrassment inflicted by the defendants for which he should be justly compensated. All other
individuals with disabilities that prevent them from utilizing steps as a means to gain access to the
courtrooms on floors above the first of the Fayette County, Chester County and Decatur County
Courthouses are being discriminated against by the defendants. In addition, the othernamed county
defendants are discriminating against the petitioner by not conducting their judicial proceedings in

facilities that are accessible by persons with disabilities.

(g) As aresult of the circumstances that the court proceedings are conducted plaintiffhas lost
the opportunity to participate in the judicial programs of the State of Tennessee, Fayette County,
Chester County, Decatur County, and the other named defendants in the State of Tennessee. This
has caused him to lose business and income that he would have otherwise been able to earn. In
addition, he has suffered serious humiliation and embarrassment as a result of these circumstances
engaged in by the State of Tennessee, Decatur County, Chester County, Fayette County and the other
named defendants.

IV.

PETITIONERS GENERAL ALLEGATIONS CONCERNING THE STATE OF
TENNESSEE AND OTHER NAMED DEFENDANTS TO THE ORIGINAL LAWSUIT

Petitioner would hereby adopt by reference the allegations contained in prior Sections of the

original amended complaint filed in this cause.

V.
REQUEST FOR RELIEF
WHEREFORE, PETITIONERS would hereby request this Honorable Court to:
1, That he be allowed to join in this action as a party Plaintiff pursuant to FRCP 20(a).

2. To issue additional suramons to the defendants on behalf of the petitioners requiring them

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to answer this cause within the time prescribed by law,

3. Render judgment against the State of Tennessee , Fayette County, Chester County and
Decatur County for damages for the plaintiffs humiliation and embarrassment in an amount not to

exceed $500,000 as well as his attorney fees, cost and expenses pursuant to the provisions of 42
U.S.C. 12133 and 29 U.S.C. 794a,

4, That this court allow him to participate as class representatives and that the court certify
this as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure and that proper

notice be given to all individuals in the class in order that they may make the proper elections.

5. That this court take such actions necessary and proper through declaratory judgment and
injunctive relief to compel the State of Tennessee and other defendants to comply with the
provisions of the Americans with Disability Act, and further award such damages to the class
representatives as are fair and proper. Further that this court award damages to each member of the
class for said humiliation and embarrassment associated with the defendants failure to comply with
the ADA. Further that the court compel the State of Tennessee to do a survey of all counties of the
State of Tennessee to determine if they in fact fully comply with the provisions of the State of

Tennessee, and if they fail to do so join them as party defendants and compel them to comply with
the ADA.

6. That this court grant general relief to the plaintiff and all other persons that are members
of the class,

Respectiully Submitted,
A. Russell Larson , Pefiti

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing pleading
was served upon counsel for all parties at interest in this case by placing a copy in the United States
Mail addressed to said parties or said counsel's last known address as listed below with sufficient
postage thereon to carry the same to its destination.

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day of ch, , 2003.

UALane\Joinder Petition by Larson

